             Case 3-21-11714-rmb                  Doc 1      Filed 08/16/21 Entered 08/16/21 18:51:00                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WISCONSIN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Palace Theater, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  564 Wisconsin Dells Pkwy S
                                  Wisconsin Dells, WI 53965
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Sauk                                                           Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.dellspalace.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Palace Theater, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               7111, 7224, 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Palace Theater, LLC                                                                             Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                           Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                   Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                   Is the property insured?
                                                       No
                                                       Yes. Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Palace Theater, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      08/16/2021
                                                  MM / DD / YYYY


                             X   /s/ Anthony J. Tomaska                                                   Anthony J. Tomaska
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   managing member




18. Signature of attorney    X   /s/ Paul G. Swanson                                                       Date 08/16/2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul G. Swanson 1007861
                                 Printed name

                                 STEINHILBER SWANSON LLP
                                 Firm name

                                 107 Church Avenue
                                 Oshkosh, WI 54901
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     920-235-6690                  Email address      pswanson@steinhilberswanson.com

                                 1007861 WI
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Palace Theater, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WISCONSIN

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          08/16/2021                              X /s/ Anthony J. Tomaska
                                                                       Signature of individual signing on behalf of debtor

                                                                       Anthony J. Tomaska
                                                                       Printed name

                                                                       managing member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Palace Theater, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                WISCONSIN
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Band Box Cleaners                                               food/beverage                                                                                              $1,200.89
 and Laundry                                                     trade payables
 PO Box 299
 Tomah, WI 54660
 Bolder Services,                                                food/beverage                                                                                              $1,545.35
 LLC                                                             trade payables
 PO Box 522
 Baraboo, WI 53913
 EMC Insurance Co.                                               workers                                                                                                  $17,197.50
 PO Box 327                                                      compensation
 Brookfield, WI                                                  insurance for
 53008-0327                                                      Debtor and 94
                                                                 North
                                                                 Productions, LLC
 Hiebing's                                                       food/beverage                                                                                              $2,666.05
 Refrigeration, Inc.                                             trade payables
 3538 Windsor Road
 De Forest, WI 53532
 Holiday Wholesale                                               food/beverage                                                                                                $320.98
 PO Box 177                                                      trade payables
 Wisconsin Dells, WI
 53965
 Internal Revenue                                                Per 1/8/2020           Contingent                                                                      $202,454.00
 Service                                                         Notice of Federal      Unliquidated
 Centralized                                                     Tax Lien against       Disputed
 Insolvency                                                      Debtor and 94
 Operation                                                       North
 P.O. Box 7346                                                   Productions, LLC
 Philadelphia, PA
 19101-7346
 Pepsi (WP                                                       food/beverage                                                                                              $2,342.53
 Beverages, LLC)                                                 trade payables
 PO Box 7425
 Madison, WI 53707




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Palace Theater, LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Philadelphia                                                    commercial                                                                                               $15,453.50
 Insurance                                                       comprehensive
 Companies                                                       and liability
 P.O. Box 70251                                                  insurance for
 Philadelphia, PA                                                Debtor and 94
 19176-0251                                                      North
                                                                 Productions, LLC
 Secura Insurance, A                                             insurance                                                                                                  $4,031.05
 Mutual Co.
 P.O.Box 776231
 Chicago, IL
 60677-6231
 Sysco - Baraboo                                                 food/beverage                                                                                                    $0.00
 PO Box 90                                                       trade payables
 Appleton, WI
 54913-9990




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            Palace Theater, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WISCONSIN

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        7,100,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,986,225.63

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        9,086,225.63


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        6,202,240.93


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           247,211.85


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,449,452.78




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Palace Theater, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WISCONSIN

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                              Last 4 digits of account
                                                                                                             number
                    Associated Bank, checking account
           3.1.     ending 7444 ,                                           Operating Account                7444                                    $20,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $20,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                            1,698,750.63    -                               0.00 =....                          $1,698,750.63
                                              face amount                        doubtful or uncollectible accounts



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         Palace Theater, LLC                                                              Case number (If known)
                Name


 12.       Total of Part 3.                                                                                                        $1,698,750.63
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           inventory related to food
           and beverage operations                    8/14/2021                                $0.00    Recent cost                       $42,475.00




 23.       Total of Part 5.                                                                                                           $42,475.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
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 Debtor         Palace Theater, LLC                                                           Case number (If known)
                Name

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           kitchen and hospitality equipment,
           $225,000.00; value is estimated and subject to
           subsequent appraisal; (subject to lien of Bank
           of Wisconsin Dells/SBA loan, $225,345.79;
           UCC Filing #140014162923 dated 10/30/14 and
           UCC filing # 20190717000461-2 continuation
           dated 7/17/19)                                                                   $0.00    N/A                               $225,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $225,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Palace Theater, LLC                                                          Case number (If known)
                Name

            55.1.    564 S. Wisconsin
                     Dells Pkwy. S,
                     Wisconsinsin Dells,
                     WI

                     42,930 square foot
                     commerical building
                     used predominately
                     as a dinner theater
                     and some retail
                     space

                     Appraisal in the
                     amount of
                     $7,100,000.00 dated
                     2/19/20.

                     Subject to:
                     1. Sauk County
                     Treasurer, real estate
                     taxes, 2017-2020,
                     $405,578.16
                     2. Kraemer Brothers,
                     LLC, mortgage,
                     recorded July 3, 2014
                     in Sauk County as
                     document #1094403,
                     judgment of
                     foreclosure July 7,
                     2021, $5,543,086.98;
                     3. Bank of Wisconsin
                     Dells, mortgage,
                     recorded in Sauk
                     County as document
                     #1099831 on October
                     31, 2014, $225,345.79
                     4. Kraemer Brothers,
                     LLC, judgment
                     docketed on 7/7/21 in
                     Sauk County Case
                     #2020CV000259,
                     $28,230.00                           Fee simple                        $0.00      Appraisal          $7,100,000.00




 56.        Total of Part 9.                                                                                            $7,100,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                      page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
            Case 3-21-11714-rmb                         Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00        Desc Main
                                                                     Document Page 13 of 38
 Debtor         Palace Theater, LLC                                                          Case number (If known)
                Name




 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                      page 5
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            Case 3-21-11714-rmb                             Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                                          Desc Main
                                                                         Document Page 14 of 38
 Debtor          Palace Theater, LLC                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $20,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,698,750.63

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $42,475.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $225,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $7,100,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,986,225.63            + 91b.            $7,100,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $9,086,225.63




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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           Case 3-21-11714-rmb                          Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                                Desc Main
                                                                     Document Page 15 of 38
 Fill in this information to identify the case:

 Debtor name         Palace Theater, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WISCONSIN

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Bank of Wisconsin Dells                        Describe debtor's property that is subject to a lien                 $225,345.79             $7,100,000.00
       Creditor's Name                                guarantor on SBA loan to 94 North
                                                      Productions, LLC; 2nd mortgage on 564 S.
                                                      Wisconsin Dells Pkwy, Lake Delton, WI; 1st
                                                      lien position on kitchen and hospitality
                                                      equipment; Kramer Brothers, LLC holds
       716 Superior Street                            second lien position without a UCC filing
       Wisconsin Dells, WI 53965
       Creditor's mailing address                     Describe the lien
                                                      2nd mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       October 24, 2014                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5002
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Sauk County Treasurer
       2. Kraemer Brothers, LLC
       3. Bank of Wisconsin Dells
       4. Kraemer Brothers, LLC

 2.2   Kraemer Brothers, LLC                          Describe debtor's property that is subject to a lien               $5,543,086.98             $7,100,000.00
       Creditor's Name                                564 S. Wisconsin Dells Pkwy, Lake Delton,
       925 Park Ave.                                  WI; judgment of foreclosure July 7, 2021
       P.O. Box 219
       Plain, WI 53577
       Creditor's mailing address                     Describe the lien
                                                      1st mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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           Case 3-21-11714-rmb                          Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                               Desc Main
                                                                     Document Page 16 of 38
 Debtor       Palace Theater, LLC                                                                     Case number (if known)
              Name

       June 27, 2014                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0259
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.3   Kraemer Brothers, LLC                          Describe debtor's property that is subject to a lien                      $28,230.00     $7,100,000.00
       Creditor's Name                                564 S. Wisconsin Dells Pkwy. S,
       925 Park Ave.                                  Wisconsinsin Dells, WI
       P.O. Box 219
       Plain, WI 53577
       Creditor's mailing address                     Describe the lien
                                                      docketed money judgment
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2014                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0259
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.4   Sauk County Treasurer                          Describe debtor's property that is subject to a lien                     $405,578.16     $7,100,000.00
       Creditor's Name                                564 S. Wisconsin Dells Pkwy. S,
                                                      Wisconsinsin Dells, WI
       505 Broadway Street
       Baraboo, WI 53913
       Creditor's mailing address                     Describe the lien
                                                      real estate taxes
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2017-2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.5   Village of Lake Delton                         Describe debtor's property that is subject to a lien                           $0.00              $0.00
       Creditor's Name                                additional notice for real estate taxes
       MSA
       1230 South Blvd.
       Baraboo, WI 53913

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
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           Case 3-21-11714-rmb                          Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                                Desc Main
                                                                     Document Page 17 of 38
 Debtor       Palace Theater, LLC                                                                     Case number (if known)
              Name

       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                               $6,202,240.9
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          3

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Attorney Jason Johnson
        Roetzel & Andress                                                                                       Line   2.2
        941 West Morse Blvd.
        Suite 100
        Winter Park, FL 32789

        Attorney Rhyan J. Lindley
        von Briesen & Roper, SC                                                                                 Line   2.2
        10 E. Doty St. Suite 900
        Madison, WI 53703-3390

        Atty. Jennifer L. Kraemer
        von Briesen & Roper, SC                                                                                 Line   2.2
        10 E. Doty St., Suite 900
        Madison, WI 53703-3390

        Secretary of the Treasury
        Treasury Department                                                                                     Line   2.1
        1500 Pennsylvania Ave. N.W.
        Washington, DC 20220-0001

        U.S. Small Business Administration
        Wisconsin District Office                                                                               Line   2.1
        310 W. Wisconsin Ave #580
        Milwaukee, WI 53203




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case 3-21-11714-rmb                          Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                                     Desc Main
                                                                     Document Page 18 of 38
 Fill in this information to identify the case:

 Debtor name         Palace Theater, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WISCONSIN

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,200.89
           Band Box Cleaners and Laundry                                        Contingent
           PO Box 299                                                           Unliquidated
           Tomah, WI 54660                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    food/beverage trade payables
           Last 4 digits of account number      0000
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,545.35
           Bolder Services, LLC                                                 Contingent
           PO Box 522                                                           Unliquidated
           Baraboo, WI 53913                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    food/beverage trade payables
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $17,197.50
           EMC Insurance Co.                                                    Contingent
           PO Box 327                                                           Unliquidated
           Brookfield, WI 53008-0327                                            Disputed
           Date(s) debt was incurred
                                                                                            workers compensation insurance for Debtor and 94
                                                                             Basis for the claim:
           Last 4 digits of account number      9883                         North Productions, LLC
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,666.05
           Hiebing's Refrigeration, Inc.                                        Contingent
           3538 Windsor Road                                                    Unliquidated
           De Forest, WI 53532                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    food/beverage trade payables
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 3
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           Case 3-21-11714-rmb                          Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                                     Desc Main
                                                                     Document Page 19 of 38
 Debtor       Palace Theater, LLC                                                                     Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $320.98
           Holiday Wholesale                                                    Contingent
           PO Box 177                                                           Unliquidated
           Wisconsin Dells, WI 53965                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    food/beverage trade payables
           Last 4 digits of account number      1000
                                                                             Is the claim subject to offset?     No       Yes

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $202,454.00
           Internal Revenue Service                                             Contingent
           Centralized Insolvency Operation
                                                                                Unliquidated
           P.O. Box 7346
           Philadelphia, PA 19101-7346                                          Disputed

           Date(s) debt was incurred 1/8/2020                                               Per 1/8/2020 Notice of Federal Tax Lien against
                                                                             Basis for the claim:
           Last 4 digits of account number                                   Debtor and 94 North Productions, LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $0.00
           Jeffrey Filter, CPA                                                  Contingent
           Wegner CPA's, LLP                                                    Unliquidated
           410 Viking Dr.                                                       Disputed
           Reedsburg, WI 53959
                                                                                            accounting services Notice Only accountant for 94
                                                                             Basis for the claim:
           Date(s) debt was incurred
                                                                             North Productions, LLC
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $2,342.53
           Pepsi (WP Beverages, LLC)                                            Contingent
           PO Box 7425                                                          Unliquidated
           Madison, WI 53707                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    food/beverage trade payables
           Last 4 digits of account number      2325
                                                                             Is the claim subject to offset?     No       Yes

 3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $15,453.50
           Philadelphia Insurance Companies                                     Contingent
           P.O. Box 70251                                                       Unliquidated
           Philadelphia, PA 19176-0251                                          Disputed
           Date(s) debt was incurred 2021-2022
                                                                                            commercial comprehensive and liability insurance for
                                                                             Basis for the claim:
           Last 4 digits of account number 5667                              Debtor and 94 North Productions, LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $4,031.05
           Secura Insurance, A Mutual Co.                                       Contingent
           P.O.Box 776231                                                       Unliquidated
           Chicago, IL 60677-6231                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    insurance
           Last 4 digits of account number      8246
                                                                             Is the claim subject to offset?     No       Yes

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            Unknown
           Sysco - Baraboo                                                      Contingent
           PO Box 90                                                            Unliquidated
           Appleton, WI 54913-9990                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    food/beverage trade payables
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 3
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           Case 3-21-11714-rmb                          Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                                  Desc Main
                                                                     Document Page 20 of 38
 Debtor       Palace Theater, LLC                                                                  Case number (if known)
              Name


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                           0.00
 5b. Total claims from Part 2                                                                        5b.   +   $                     247,211.85

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                        247,211.85




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 3
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           Case 3-21-11714-rmb                          Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                      Desc Main
                                                                     Document Page 21 of 38
 Fill in this information to identify the case:

 Debtor name         Palace Theater, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WISCONSIN

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   June 27, 2014 lease of
             lease is for and the nature of               theater by 94 North
             the debtor's interest                        Productions, LLC; First
                                                          Amendment to Lease
                                                          Dated Jun 1, 2019.
                                                          Extended through June
                                                          30, 2024.

                                                          Base Rent: $18,606.25
                                                          plus taxes, impositions,
                                                          insurance, costs
                  State the term remaining                34 months
                                                                                     94 North Productions, LLC
             List the contract number of any                                         564 Wisconsin Dells Parkway S
                   government contract       none                                    Wisconsin Dells, WI 53965


 2.2.        State what the contract or                   February 23, 2008 and
             lease is for and the nature of               First Amendment to
             the debtor's interest                        Lease dated ??? ,2012;
                                                          Bug Tussel LLC leases
                                                          building space at 564 S.
                                                          Wisconsin Dells
                                                          Parkway, Wisconsin
                                                          Dells, WI for the
                                                          purposes of installing
                                                          wireless
                                                          communications
                                                          equipment on the roof
                                                          and alongside of
                                                          building; monthly rent,
                                                          $1,513.96
                  State the term remaining                ???                        Bug Tussel LLC
                                                                                     130 Walnut Street
             List the contract number of any                                         Suite 300
                   government contract                                               Green Bay, WI 54301




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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           Case 3-21-11714-rmb                          Doc 1          Filed 08/16/21 Entered 08/16/21 18:51:00              Desc Main
                                                                      Document Page 22 of 38
 Debtor 1 Palace Theater, LLC                                                                 Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.3.        State what the contract or                   Lease dated March 6,
             lease is for and the nature of               2018 for lease of pole
             the debtor's interest                        sign with electronic
                                                          message center and
                                                          black cladding; May 1,
                                                          2018 thru April 30,
                                                          2023; assigned to
                                                          Palace Theater, LLC on
                                                          ???; $3,925.33
                                                          monthly; lease is
                                                          potentially a financing
                                                          lease
                  State the term remaining                20 months                   Lundgren Partners, LLC
                                                                                      3773 Howard Hughes Pkwy.
             List the contract number of any                                          Suite 5005
                   government contract                                                Las Vegas, NV 89169-6014




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 2
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           Case 3-21-11714-rmb                          Doc 1         Filed 08/16/21 Entered 08/16/21 18:51:00                  Desc Main
                                                                     Document Page 23 of 38
 Fill in this information to identify the case:

 Debtor name         Palace Theater, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WISCONSIN

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      94 North                          1419 N. Wells St. 2nd Floor Rear                   Kraemer Brothers,                 D   2.2
             Productions, LLC                  Chicago, IL 60610                                  LLC                               E/F
                                               commercial guaranty
                                                                                                                                    G




    2.2      Anthony J.                        564 S. Wisconsin Dells Pkwy S                      Bank of Wisconsin                 D   2.1
             Tomaska                           Wisconsin Dells, WI 53965                          Dells                             E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Palace Theater, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WISCONSIN

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                       $422,514.00
       From 1/01/2021 to Filing Date                                                                        combined gross
                                                                                                            income with 94 North
                                                                                                   Other    Productions LLC


       For prior year:                                                                             Operating a business                       $294,210.00
       From 1/01/2020 to 12/31/2020                                                                         combined gross
                                                                                                            income with 94 North
                                                                                                   Other    Productions LLC


       For year before that:                                                                       Operating a business                     $2,518,616.00
       From 1/01/2019 to 12/31/2019                                                                         combined gross
                                                                                                            income with 94 North
                                                                                                   Other    Productions LLC

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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 Debtor       Palace Theater, LLC                                                                       Case number (if known)




           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Kraemer Brothers, LLC                                     Foreclosure Sale pending scheduled for                                                           $0.00
       925 Park Ave.                                             8-17-2021
       Plain, WI 53577                                           See schedules for details.


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Kraemer Brothers, LLC vs.                         foreclosure                Sauk County Circuit Court                    Pending
               Palace Theater, LLC et al                                                    515 Oak St.                                  On appeal
               2020CV000259                                                                 Baraboo, WI 53913
                                                                                                                                         Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000
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           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.                                                         Of the fees received, $50,018.00 was
                                                                     applied to pre-petition work performed.
                                                                     The balance of $74,982.00 is held in Trust                8/2/2021,
                Steinhilber Swanson LLP                              as discolosed herein and will be drawn                    $25,000.00
                107 Church Avenue                                    only upon application and Order                           8/16/202
                Oshkosh, WI 54901                                    approving fees.                                           $100,000.00          $125,000.00

                Email or website address
                pswanson@steinhilberswanson.co
                m

                Who made the payment, if not debtor?
                $25,000 from 94 North Productions
                LLC (credited as lease payment to
                Debtor for accounting purposes



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers         Total amount or
                                                                                                                         were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.


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               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents             Do you still
                                                                      access to it                                                                have it?
                                                                      Address

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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                       Location of the property            Describe the property                            Value
       94 North, LLC                                                  Upon debtors premises               94 North, LLC is a sister                  Unknown
                                                                                                          company that provides
                                                                                                          production of the acts held in
                                                                                                          the Palace theater, and it
                                                                                                          owns the production assets
                                                                                                          including lighting, sound
                                                                                                          systems and other production
                                                                                                          assets. The ownership of this
                                                                                                          entity is identical to the
                                                                                                          debtor. Kraemer Brothers
                                                                                                          holds a judgement against
                                                                                                          this company as it was a
                                                                                                          co-debtor of the debt to it.


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?
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            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jeffrey Filter, CPA                                                                                                        2018 tax returns and
                    Wegner CPAS, LLP                                                                                                           ongoing accounting
                    410 Viking Drive                                                                                                           services
                    Reedsburg, WI 53959
       26a.2.       Debtor has it's books and records



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jeffrey Filter, CPA
                    Wegner CPAS, LLP
                    410 Viking Dr.
                    Reedsburg, WI 53959
       26c.2.       Debtor has books and records                                                             Books and records for prior and subsequent
                                                                                                             years in ther hands of the debtor or its
                                                                                                             principals and managers. Record have been
                                                                                                             furnished top Martin Cowie who is the
                                                                                                             financial advisor sought to be retained in this
                                                                                                             process.

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

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 Debtor      Palace Theater, LLC                                                                        Case number (if known)



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Rachel Scott                                                                                             food & beverage - wholesale value
       .                                                                                                             $42,465
                                                                                                                     FF&E- Estimated value $225,000
                                                                                            8/14/2021                ;subject to appraisal post-petition

               Name and address of the person who has possession of
               inventory records
               Anthony Tomaska



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Anthony J. Tomaska                             564 S. Wisconsin Dells Pkwy S                       managing member                       69%
                                                      Wisconsin Dells, WI 53965

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Lundgren Partners, LLC                                                                             Member                                31%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

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    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 16, 2021

 /s/ Anthony J. Tomaska                                                 Anthony J. Tomaska
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         managing member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Wisconsin
 In re       Palace Theater, LLC                                                                               Case No.
                                                                                  Debtor(s)                    Chapter      11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE


             Prior to the filing of this statement I have received                                         $                      0.00



              RETAINER
             For legal services, I have agreed to accept and received a retainer of                        $                 74,982.00
             The undersigned shall bill against the retainer at an hourly rate of                          $
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.
             Subject to approval of Application for Employment.


2.     The source of the compensation paid to me was:

                 Debtor                                 Other (specify):          .    The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Advice on duties and obligations as Debtor; Necessary creditor, court and Trustee contacts, Plan of
                 Reorganization and all work needed as General Reorganization Counsel to Debtor

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 16, 2021                                                             /s/ Paul G. Swanson
     Date                                                                        Paul G. Swanson 1007861
                                                                                 Signature of Attorney
                                                                                 STEINHILBER SWANSON LLP
                                                                                 107 Church Avenue
                                                                                 Oshkosh, WI 54901
                                                                                 920-235-6690 Fax: 920-426-5530
                                                                                 pswanson@steinhilberswanson.com
                                                                                 Name of law firm




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                                                                     Western District of Wisconsin
 In re      Palace Theater, LLC                                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Anthony J. Tomaska
 564 S. Wisconsin Dells Pkwy S
 Wisconsin Dells, WI 53965

 Lundgren Partners, LLC
 3773 Howard Hughes Pkwy
 Suite 5005
 Las Vegas, NV 89169-6014


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the managing member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date August 16, 2021                                                        Signature /s/ Anthony J. Tomaska
                                                                                            Anthony J. Tomaska

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Western District of Wisconsin
 In re      Palace Theater, LLC                                                                       Case No.
                                                                                   Debtor(s)          Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the managing member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       August 16, 2021                                            /s/ Anthony J. Tomaska
                                                                        Anthony J. Tomaska/managing member
                                                                        Signer/Title




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                          94 North Productions, LLC
                          564 Wisconsin Dells Parkway S
                          Wisconsin Dells, WI 53965

                          94 North Productions, LLC
                          1419 N. Wells St. 2nd Floor Rear
                          Chicago, IL 60610

                          Anthony J. Tomaska
                          564 S. Wisconsin Dells Pkwy S
                          Wisconsin Dells, WI 53965

                          Attorney Jason Johnson
                          Roetzel & Andress
                          941 West Morse Blvd.
                          Suite 100
                          Winter Park, FL 32789

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                          10 E. Doty St., Suite 900
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                          Band Box Cleaners and Laundry
                          PO Box 299
                          Tomah, WI 54660

                          Bank of Wisconsin Dells
                          716 Superior Street
                          Wisconsin Dells, WI 53965

                          Bolder Services, LLC
                          PO Box 522
                          Baraboo, WI 53913

                          Bug Tussel LLC
                          130 Walnut Street
                          Suite 300
                          Green Bay, WI 54301

                          EMC Insurance Co.
                          PO Box 327
                          Brookfield, WI 53008-0327

                          Hiebing's Refrigeration, Inc.
                          3538 Windsor Road
                          De Forest, WI 53532
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                      Holiday Wholesale
                      PO Box 177
                      Wisconsin Dells, WI 53965

                      Internal Revenue Service
                      Centralized Insolvency Operation
                      P.O. Box 7346
                      Philadelphia, PA 19101-7346

                      Jeffrey Filter, CPA
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                      410 Viking Dr.
                      Reedsburg, WI 53959

                      Kraemer Brothers, LLC
                      925 Park Ave.
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                      Plain, WI 53577

                      Lundgren Partners, LLC
                      3773 Howard Hughes Pkwy.
                      Suite 5005
                      Las Vegas, NV 89169-6014

                      Lundgren Partners, LLC
                      3773 Howard Hughes Pkwy
                      Suite 5005
                      Las Vegas, NV 89169-6014

                      Pepsi (WP Beverages, LLC)
                      PO Box 7425
                      Madison, WI 53707

                      Philadelphia Insurance Companies
                      P.O. Box 70251
                      Philadelphia, PA 19176-0251

                      Sauk County Treasurer
                      505 Broadway Street
                      Baraboo, WI 53913

                      Secretary of the Treasury
                      Treasury Department
                      1500 Pennsylvania Ave. N.W.
                      Washington, DC 20220-0001

                      Secura Insurance, A Mutual Co.
                      P.O.Box 776231
                      Chicago, IL 60677-6231

                      Sysco - Baraboo
                      PO Box 90
                      Appleton, WI 54913-9990
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                      U.S. Small Business Administration
                      Wisconsin District Office
                      310 W. Wisconsin Ave #580
                      Milwaukee, WI 53203

                      Village of Lake Delton
                      MSA
                      1230 South Blvd.
                      Baraboo, WI 53913
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                                                               United States Bankruptcy Court
                                                                     Western District of Wisconsin
 In re      Palace Theater, LLC                                                                            Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Palace Theater, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 16, 2021                                                       /s/ Paul G. Swanson
 Date                                                                  Paul G. Swanson 1007861
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Palace Theater, LLC
                                                                       STEINHILBER SWANSON LLP
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                                                                       Oshkosh, WI 54901
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